            Case 2:22-cv-04606-MEF-JSA Document 39 Filed 12/18/23 Page 1 of 1 PageID: 155




                                           Stern,, Lavinthall & Frankenberg,, LLC
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                                                                  December 15, 2023


            Via ECF Filing
            The Honorable Jessica S. Allen, U.S.M.J.
            United States District Court for the District of New Jersey
            50 Walnut Street, Chambers 2B
            Newark, NJ 07102

            Re:      Nationstar Mortgage LLC d/b/a Mr. Cooper v. DuBois
                     Docket No.: 22-04606-MEF-JSA

            Dear Judge Allen:

                    This office represents Plaintiff, Nationstar Mortgage LLC, d/b/a Mr. Cooper in the
            above-referenced matter. Your Honor has entered a Text Order requiring the submission of a
            status report on this matter by today, December 15, 2023. Mr. Dubois is ill, and we respectfully
            request additional time to submit the status report.        The pending action is currently
            administratively terminated.

                     The parties appreciate the Court’s courtesies in this matter.

                                                           Respectfully,
                                                           STERN, LAVINTHAL & FRANKENBERG, LLC

                                                           /s/ Laura A. Scurko
                                                           Laura A. Scurko, Esq.


            LAS/ls

            cc: Nicholas J. DuBois, Esq. (Via ECF)

*The request is GRANTED. The parties shall submit a joint status letter on or before 1/5/24*

   SO ORDERED

   /s/ Jessica S. Allen
   Hon. Jessica S. Allen, U.S.M.J.


   Date: 12/18/23
